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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 INSURANCE COMPANY OF GREATER                 )
 NEW YORK, as subrogee of Chelsea Crossing of )
 Southfield Condominium Association,          )             Case No. 22-cv-11030
                                              )
                           Plaintiff,         )
                                              )
        v.                                    )
                                              )
 DEANNA JOHNSON, a Michigan resident,         )
                                              )
                           Defendant.         )

       MOTION FOR EXTENSION OF TIME IN WHICH TO EFFECT SERVICE

       NOW COMES the Plaintiff, INSURANCE COMPANY OF GREATER NEW YORK, as

subrogee of Chelsea Crossing of Southfield Condominium Association, by and through its

attorneys, Foran Glennon Palandech Ponzi & Rudloff PC, and pursuant to Fed. R. Civ. P. 4(m),

moves this Court for additional time in which to serve the Defendant, Deanna Johnson, and in

support states as follows:

       1.      Plaintiff initiated this lawsuit against Defendant Deanna Johnson on May 13,

2022 with Summons issued to be served upon the Defendant at 14236 Dale Street, Detroit,

Michigan. (Dkt. No.1).

       2.      Plaintiff’s process server attempted to serve the defendant on May 24, 2022 at the

14236 Dale Street, Detroit, Michigan address, and left his contact information on the residence

door. See Ex. 1, First Affidavit of Service. (Dkt. 5). According to the process server, the

defendant's daughter telephoned and agreed to meet the process server on June 4, 2022 to accept

service for Defendant. See Ex. 1.

       3.      On June 4, 2022, according to the process service, neither the Defendant, Deanna

Johnson, nor any other resident answered the door. The process server telephoned the number
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provided by the Defendant's "alleged" daughter, who promised to forward the contact

information to Deanna Johnson. See Ex. 1.

       4.      On July 14, 2022, having no contact with the Defendant, a skip trace was

conducted confirming the residential address for the Defendant, Deanna Johnson, at 14236 Dale

Street, Detroit, Michigan.

       5.      On July 22, 2022, July 26, 2022, July 30, 2022, August 3, 2022, August 9, 2022

and on August 13, 2022, the special process server returned to the residence to attempt to serve

Defendant, Deanna Johnson. See Ex. 2, Second Affidavit of Service. (Dkt. 6).

       6.      In light of the fact that by all appearances Defendant resides at the 14236 Dale

Street, Detroit, Michigan address, Plaintiff believes service is attainable through surveillance

and/or further investigation into Defendant's employer.

       7.      Plaintiff has exercised diligence in obtaining service of process in this case, and

no undue prejudice would result from allowing the Plaintiff more time in which to effect service.

       WHEREFORE, Plaintiff, GREATER NEW YORK MUTUAL INSURANCE

COMPANY, subrogee of Chelsea Crossing of Southfield Condominium Association,

respectively requests an additional 60 days in which to serve the Defendant, Deanna Johnson.

 Dated this 9th day of September, 2022.         Respectfully Submitted,

                                                 /s/ Brian E. Devilling
                                                Brian E. Devilling (Bar No. 6277371)
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                                                Attorneys for Plaintiff INSURANCE
                                                COMPANY OF GREATER NEW YORK, as
                                                subrogee of Chelsea Crossing of Southfield
                                                Condominium Association

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